  Case 5:18-cv-01367-AB-AS Document 31 Filed 10/22/18 Page 1 of 7 Page ID #:2885


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL



  Case No.: ED CV 18-01367-AB (ASx)                                Date:   October 22, 2018


 Title:     Monster Energy Company v. Thunder Beast LLC et al


 Present: The Honorable          ANDRÉ BIROTTE JR., United States District Judge
                Carla Badirian                                           N/A
                Deputy Clerk                                        Court Reporter

          Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                 None Appearing                                    None Appearing

 Proceedings:            [In Chambers] ORDER GRANTING ANTI-SLAPP MOTION
                         TO STRIKE AND GRANTING IN PART AND DENYING IN
                         PART MOTION TO STRIKE UNDER RULE 12(f)
      Before the Court is Plaintiff Monster Energy Company’s (“Plaintiff”) Anti-SLAPP
Motion to Strike Defendants’ Counterclaim and Moton to Strike Under Rule 12(f).
(“Motion,” Dkt. No. 22.) Defendants Thunder Beast, LLC, and Stephen Norberg
(“Defendants”) filed an opposition and Plaintiff filed a reply. For the following reasons,
the Anti-SLAPP Motion is GRANTED and the Motion to Strike Under Rule 12(f) is
GRANTED IN PART AND DENIED IN PART.

    I.       BACKGROUND

       Plaintiff’s Complaint alleges trademark infringement and related claims against
Defendants for infringing on Plaintiff’s MONSTER and BEAST trademarks. See
Complaint (Dkt. No. 1). Defendants filed an Answer and Counterclaims, asserting a
fourth affirmative defense of trademark misuse, a fifth affirmative defense of unclean

CV-90 (12/02)                           CIVIL MINUTES - GENERAL               Initials of Deputy Clerk CB


                                                  1
  Case 5:18-cv-01367-AB-AS Document 31 Filed 10/22/18 Page 2 of 7 Page ID #:2886

hands, and a counterclaim for unfair competition under Cal. Code Civ. P. § 17200 et seq.
See Answer and Counterclaim (“ACC,” Dkt. No. 21). Plaintiff moves to strike the
counterclaim pursuant to California’s anti-SLAPP statute, Cal. Code Civ. P. § 425.16(c),
and to strike the affirmative defenses under Fed. R. Civ. P. 12(f).

    II.      DISCUSSION

          A. Plaintiff’s Anti-SLAPP Motion to Strike is GRANTED.

             1. Legal Standard

       A Strategic Lawsuit Against Public Participation, or “SLAPP,” is “a meritless suit
filed primarily to chill the defendant’s exercise of First Amendment rights.” Wilcox v.
Superior Court, 27 Cal. App. 4th 809, 815 n.2 (1994), disapproved of on other grounds
by Equilon Enters., LLC v. Consumer Cause, Inc., 29 Cal. 4th 53, 68 n.5 (2002). “The
hallmark of a SLAPP lawsuit is that it is filed to obtain a financial advantage over one’s
adversary by increasing litigation costs until the adversary’s case is weakened or
abandoned.” Metabolic Research, Inc. v. Ferrell, 693 F.3d 795, 796 n.1 (9th Cir. 2012)
(internal citation omitted).

       To “provide a procedural remedy to dispose of lawsuits that are brought to chill the
valid exercise of constitutional rights,” Rusheen v. Cohen, 37 Cal. 4th 1048, 1055-56
(2006), the California legislature enacted the anti-SLAPP statute, Cal. Code Civ. Proc. §
425.16, which provides, in relevant part:

          A cause of action against a person arising from any act of that person in
          furtherance of the person’s right of petition or free speech under the United
          States Constitution or the California Constitution in connection with a
          public issue shall be subject to a special motion to strike, unless the court
          determines that the plaintiff has established that there is a probability that
          the plaintiff will prevail on the claim.

Cal. Code Civ. Proc. § 425.16(b)(1). An “act in furtherance of a person’s right of petition
or free speech under the United States or California Constitution in connection with a
public issue” includes “(1) any written or oral statement or writing made before a
legislative, executive, or judicial proceeding, or any other official proceeding authorized
by law.” Cal. Civ. Proc. Code § 425.16 (e)(1).

       A litigant may bring an anti-SLAPP motion in federal court. See United States ex
rel. Newsham v. Lockheed Missiles & Space Co., 190 F.3d 963, 971-73 (9th Cir. 1999);

CV-90 (12/02)                           CIVIL MINUTES - GENERAL              Initials of Deputy Clerk CB


                                                  2
  Case 5:18-cv-01367-AB-AS Document 31 Filed 10/22/18 Page 3 of 7 Page ID #:2887

see also Thomas v. Fry’s Elecs., Inc., 400 F.3d 1206, 1206-07 (9th Cir. 2005) (per
curiam) (reaffirming Lockheed). An anti-SLAPP motion consists of a two-step inquiry:
“First, the defendant must establish that the challenged claim arises from activity
protected by section 425.16. [Citation.] If the defendant makes the required showing, the
burden shifts to the plaintiff to demonstrate the merit of the claim by establishing a
probability of success.” Optional Capital, Inc. v. Akin Gump Strauss, Hauer & Feld LLP,
18 Cal. App. 5th 95, 110 (2017), review denied (Mar. 14, 2018) (citation omitted).
“‘Reasonable probability’ in the anti-SLAPP statute has a specialized meaning.” Mindy’s
Cosmetics, Inc. v. Dakar, 611 F.3d 590, 598 (9th Cir. 2010) (internal citation omitted). It
requires that the plaintiff show a “‘minimum level of legal sufficiency and triability’”: the
plaintiff “need only ‘state and substantiate a legally sufficient claim.’” Id. The “prevailing
defendant on a special motion to strike shall be entitled to recover his or her attorney’s
fees and costs.” Cal. Civ. Proc. Code § 425.16(c)(1).

            2. Defendants’ Unfair Competition Counterclaim Arises From Plaintiff’s
               Protected Activity

       Plaintiff has met the first element. “A [movant] meets this burden by
demonstrating that the [] act underlying the [claim] fits one of the categories spelled out
in [section 425.16(e)].” Navellier v. Sletten, 29 Cal.4th 82, 88 (2002) (citation omitted).
Defendants’ UCL claim against Plaintiff is premised solely Plaintiff’s filing the
Complaint in this action, which Defendants allege is not a good faith complaint but
instead is intended to destroy competition. See ACC ¶¶ 23-30. Plaintiff’s Complaint is a
writing made before a judicial proceeding under § 425.16(e), so it is an activity protected
by the anti-SLAPP statute. See, e.g., Navellier, 29 Cal.4th at 90 (“A claim for relief filed
in federal district court indisputably is a ‘statement or writing made before a . . . judicial
proceeding.’”). Defendants argue that Plaintiff’s Complaint is not a protected activity
because it is frivolous and in bad faith. But, California courts have rejected this tactic of
assessing the validity of the moving party’s underlying constitutional right in the first
step of the analysis and instead considers it in the context of the second step. Chavez v.
Mendoza, 94 Cal. App. 4th 1083, 1089 (2001) (“courts have recognized that a person
does not have a constitutionally protected right to file a complaint that is unsupported by
the facts,” but under the anti-SLAPP statute, “a court must generally presume the validity
of the claimed constitutional right in the first step of the anti-SLAPP analysis, and then
permit the parties to address the issue in the second step of the analysis, if necessary.”).

            3. Defendants Cannot Establish a Probability of Success on Their Unfair
               Competition Counterclaim.

        Defendants have not established a probability of success on their unfair

CV-90 (12/02)                        CIVIL MINUTES - GENERAL               Initials of Deputy Clerk CB


                                               3
  Case 5:18-cv-01367-AB-AS Document 31 Filed 10/22/18 Page 4 of 7 Page ID #:2888

competition claim. To establish a probability of success, the party must show that its
claim is legally sufficient and supported by enough evidence to establish a prima facie
claim. Zamos v. Stroud, 32 Cal.4th 958, 965 (2004), as modified (June 9, 2004).
Defendants’ sole argument is that Plaintiff’s Complaint is frivolous and an attempt to
crush competition, not to enforce legitimate intellectual property rights. See Opp’n 13:16-
26. Defendants support this claim with an assertion that Plaintiff has filed more than
1,000 other allegedly frivolous lawsuits. See Opp’n 12:7-22. This argument fails,
however, because Defendants have not filed any admissible evidence to support it. See
HMS Capital v. Lawyers Title Co., 118 Cal. App. 4th 204, 212 (2004) (“In opposing an
anti-SLAPP motion, [a party] cannot rely on the allegations of the complaint, but must
produce evidence that would be admissible at trial.”). For this reason alone Defendants
have not met their burden.

       Defendants’ unfair competition claim is also barred by the litigation privilege.
Under Cal. Civ. Code § 47(b), communications made in judicial proceedings are
privileged. This “litigation privilege” is “absolute in nature.” Silberg v. Anderson, 50
Cal.3d 205, 215 (1990), as modified (Mar. 12, 1990). “[T]he privilege [extends] to any
communication, not just a publication, having ‘some relation’ to a judicial proceeding,
and to all torts other than malicious prosecution.” Kashian v. Harriman, 98 Cal. App. 4th
892, 913 (2002). And, contrary to Defendants’ argument, “application of the privilege
does not depend on the publisher’s ‘motives, morals, ethics or intent.’” Id. Accordingly,
Plaintiff’s filing of this action is privileged and simply cannot give rise to any liability
under California law. Defendants’ unfair competition counterclaim is predicated entirely
on the fact that Plaintiff filed its Complaint, so it is barred by the litigation privilege.
Because Defendants’ unfair competition counterclaim is defeated by the litigation
privilege, Defendants cannot establish any probability of success on that claim.

        Plaintiff’s anti-SLAPP motion is therefore GRANTED.

        B. Plaintiff’s Motion to Strike is GRANTED in Part and DENIED in Part.

       Plaintiff also moves to strike Defendants’ affirmative defenses of trademark
misuse (4th defense) and unclean hands (5th defense) as inadequately pled and legally
barred. For the trademark misuse defense, Defendants allege “Plaintiff’s claims are
barred by the doctrine of trademark misuse, because Plaintiff has asserted its trademarks
against Defendants for the improper purposes of unfair competition, financial oppression,
and delay, knowing that Defendants have not infringed Plaintiff’s rights.” ACC p 10. For
the unclean hands defense, Defendants allege “Plaintiff’s claims are barred by the
doctrine of unclean hands, based on its actions as set forth in the counterclaims below.”
Id. Plaintiff argues that these defenses are barred by the Noerr-Pennington doctrine.

CV-90 (12/02)                        CIVIL MINUTES - GENERAL             Initials of Deputy Clerk CB


                                               4
  Case 5:18-cv-01367-AB-AS Document 31 Filed 10/22/18 Page 5 of 7 Page ID #:2889


            1. Legal Standard

        Under Rule 12(f), a court “may strike from a pleading an insufficient defense or
any redundant, immaterial, impertinent, or scandalous matter.” The function of a Rule
12(f) motion to strike “is to avoid the expenditure of time and money that must arise from
litigating spurious issues by dispensing with those issues prior to trial.” Fantasy, Inc. v.
Fogerty, 984 F.2d 1524, 1527 (9th Cir. Cal. 1993) (quoting Sidney-Vinstein v. A.H.
Robins Co., 697 F.2d 880, 885 (9th Cir. 1983)) (overruled on other grounds in Fogerty v
Fantasy Inc., 510 U.S. 517 (1994).

            2. The Motion to Strike is GRANTED as to the Unclean Hands Defense.

       Before addressing Noerr-Pennington, the Court finds that the unclean hands
defense fails because it is premised solely on Plaintiff’s filing of this action, and that is
not a legally sufficient basis for this defense. To establish an unclean hands defense, a
party “must demonstrate that the plaintiff’s conduct is inequitable and that the conduct
relates to the subject matter of its claims.” Japan Telecom, Inc. v. Japan Telecom Am.
Inc., 287 F.3d 866, 870 (9th Cir. 2002) (internal quote and citation omitted). The conduct
must “relate to the getting or using the alleged trademark rights” and the defense may not
rely on the “allegedly unfair or improper filing of a trademark infringement lawsuit[.]” J.
Thomas McCarthy, 6 McCarthy on Trademarks and Unfair Competition (“McCarthy”) §
31:51 (5th ed. 2016). Because Plaintiff’s filing of this lawsuit cannot give rise to an
unclean hands defense, the Court finds that this defense is insufficient and it is therefore
STRICKEN.

            3. The Motion is DENIED as to the Trademark Misuse Defense.

       The Court now turns to Defendants’ trademark misuse defense. Neither party
clearly explains what the trademark misuse defense is, but McCarthy explains that it is
the misuse of a trademark to violate the antitrust laws, and that the defendant must
establish “that the trademark itself has been ‘the basic and fundamental vehicle required
and used to accomplish the violation.’” McCarthy § 31:47 (citation omitted). Here,
Defendants allege that Plaintiff filed this action for the improper purpose of stifling
competition knowing that Defendants did not violate Plaintiff’s trademarks. See ACC
10:16-20. The Noerr-Pennington doctrine holds that “those who petition any department
of the government for redress are generally immune from statutory liability for their
petitioning conduct.” Sosa v. DIRECTV, Inc., 437 F.3d 923, 929 (9th Cir. 2006). This
immunity extends to protect “conduct intimately related to . . . petitioning activities” in
order “to preserve the breathing space required for the effective exercise of the rights it

CV-90 (12/02)                        CIVIL MINUTES - GENERAL              Initials of Deputy Clerk CB


                                               5
  Case 5:18-cv-01367-AB-AS Document 31 Filed 10/22/18 Page 6 of 7 Page ID #:2890

protects.” Id. at 933–34. The question, then, is whether allowing Defendants to proceed
with their trademark misuse defense could “impair [Plaintiff’s] right of access to the
courts protected by the First Amendment.” Id. at 936.

       Here, the trademark misuse defense is directed at Plaintiff’s conduct in filing this
action, so it is subject to dismissal under Noerr-Pennington. But Defendants argue that
the “sham” exception applies. The sham exception establishes that “Noerr–Pennington
immunity is not a shield for petitioning conduct that, although ‘ostensibly directed toward
influencing governmental action, is a mere sham to cover what is actually nothing more
than an attempt to interfere directly with the business relationships of a competitor.’” Id.
at 938 (citation omitted). The Ninth Circuit has recognized “three circumstances in which
the sham litigation exception might apply: first, where the lawsuit is objectively baseless
and the defendant’s motive in bringing it was unlawful []; second, where the conduct
involves a series of lawsuits ‘brought pursuant to a policy of starting legal proceedings
without regard to the merits’ and for an unlawful purpose []; and third, if the allegedly
unlawful conduct ‘consists of making intentional misrepresentations to the court. . .’” Id.

      It appears that Defendants invoke the first circumstance: “Plaintiff has asserted its
trademarks against Defendants for improper purposes. . .” ACC 10:16-19. Plaintiff points
to several cases where trademark misuse defenses were defeated by Noerr-Pennington
and where the court rejected the sham exception, but none of these was decided on a
motion to strike. See, e.g., Monster Energy Co. v. Integrated Supply Network, LLC, No.
ED CV 17-548-CBM-RAO, 2018 WL 3357532, at *4 (C.D. Cal. June 4, 2018) (motion
for summary judgment); Adidas Am., Inc. v. TRB Acquisitions LLC, No. 3:15-CV-2113-
SI, 2017 WL 337983, at *8 (D. Or. Jan. 23, 2017) (motion for judgment on pleadings);
James R. Glidewell Dental Ceramics, Inc. v. Keating Dental Arts, Inc., No. SACV 11-
1309-DOC ANX, 2013 WL 655314, at *14 (C.D. Cal. Feb. 21, 2013) (motion for
summary judgment).

       In light of the limited briefing on these issues and the “fair notice” standard still
applicable to pleading affirmative defenses, see Simmons v. Navajo Cty., Ariz., 609 F.3d
1011, 1023 (9th Cir. 2010) (“‘key to determining the sufficiency of pleading an
affirmative defense is whether it gives plaintiff fair notice of the defense’”) (citation
omitted), the Court cannot find that Defendants’ trademark misuse defense is
“insufficient” or that it is “redundant, immaterial, impertinent, or scandalous” under Rule
12(f). The motion to strike is therefore DENIED as to the trademark misuse defense.




CV-90 (12/02)                        CIVIL MINUTES - GENERAL             Initials of Deputy Clerk CB


                                               6
  Case 5:18-cv-01367-AB-AS Document 31 Filed 10/22/18 Page 7 of 7 Page ID #:2891

    III.    CONCLUSION

        For the foregoing reasons:

        • Plaintiff’s anti-SLAPP Motion is GRANTED and Defendants’ unfair
          competition counterclaim is hereby STRICKEN.

        • Plaintiff’s Motion to Strike is GRANTED as to the unclean hands affirmative
          defense, and that defense is STRICKEN.

        • Plaintiff’s Motion to Strike is DENIED as to the trademark misuse affirmative
          defense.

       Because Plaintiff prevailed in its anti-SLAPP motion, it is entitled to an award of
attorneys’ fees. See Cal. Code Civ. P. § 415.16(c)(1). The parties must meet and confer
on Plaintiffs’ fees and file a Joint Brief as follows:

    • Within two weeks of the issuance of this Order, Plaintiffs must present Defendants
      with their fee request and associated documentation.
    • Within a week thereafter the parties must meet and confer in an attempt to resolve
      any disputes and objections.
    • Within a week thereafter the parties must file a Joint Brief setting out any points of
      dispute, at which point the fee request will be deemed under submission.

       The Court expects the parties to use best efforts to resolve any disputes and avoid
incurring further fees.

        IT IS SO ORDERED.




CV-90 (12/02)                        CIVIL MINUTES - GENERAL              Initials of Deputy Clerk CB


                                               7
